EXHIBIT 3

[REDACTED]
  From: Robert MacGill robert.macgill@macgilllaw.com
Subject: Re: AEO Designations (Womack Production)
   Date: January 24, 2024 at 7:13 AM
     To: Melissa J. Hogan melissajhogan@qavahlaw.com
    Cc: Basyle Tchividjian boz@bozlawpa.com, Patrick Sanders patrick.sanders@macgilllaw.com, Scott Murray
         Scott.Murray@macgilllaw.com, Thompson, Mackenzie mackenzie.thompson@macgilllaw.com

      Melissa and Boz,

      As to your concern in your email below on the letters “mack,” we have complied with all requirements of the Protective Order.

      As a follow up to our conversation with Boz and our email below, can you please confirm if your clients are going to appear on February 8 and 9
      pursuant to the GuidePost notices?

      Best regards.

      Robert D. MacGill
      MacGill PC
      156 E. Market St.
      Suite 1200
      Indianapolis, IN 46260
      317.442.3825
      Robert.MacGill@MacGillLaw.com

      P Please consider the environment before printing this email.


      On Thu, Jan 18, 2024 at 9:17 AM Robert MacGill <robert.macgill@macgilllaw.com> wrote:
       Melissa,

        We will look into your concern promptly.

        We have spent many days and many calls trying to resolve your concerns as a practical rather than as a legal matter. Your adversarial tone is
        noted.

        We will proceed as appropriate.

        Please let us know by close of business tomorrow whether your clients will appear at their depositions as noticed by GuidePost on February 7 and
        8.

        Best regards.



        Robert D. MacGill
        MacGill PC
        156 E. Market St.
        Suite 1200
        Indianapolis, IN 46260
        317.442.3825
        Robert.MacGill@MacGillLaw.com

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        On Thu, Jan 18, 2024 at 10:56 AM Melissa J. Hogan <melissajhogan@qavahlaw.com> wrote:
         Robert,

          On docket #100-20 (exhibit W), the last name of my clients is only partially redacted and “mack” is publicly visible under item #6 in your list to
          Guidepost of discovery defaults. Please correct this immediately and confirm you have done so. The fact that it has already been published
          publicly for 9 days, making the identity of my clients discernible to the public is inexcusable.

          Regarding the discovery designations, based on the previous order of the court, we are comfortable with the current AEO designations.


          Melissa J. Hogan, Esq.
          QAVAH LAW
          melissajhogan@qavahlaw.com
          615.293.6623

            On Jan 17, 2024, at 7:11 AM, Basyle Tchividjian <boz@bozlawpa.com> wrote:

            Robert -

            We are still engaged in conversations with our clients regarding depositions. I anticipate getting back to you soon on this issue.


                               Boz Tchividjian, Esq.
                               BozLaw PA
